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                                   United States Court of Appeals for the Second Circuit
                                           Thurgood Marshall U.S. Courthouse
                                                     40 Foley Square
                                                   New York, NY 10007


                  ROBERT A.       CATHERINE O'HAGAN WOLFE
                  KATZMANN        CLERK OF COURT
                  CHIEF JUDGE

Date: February 20, 2019                                   DC Docket #: 15−cv−7433
Docket #: 16−3945cv                                       DC Court: SDNY (NEW YORK CITY)DC Docket #: 15−cv−7433
Short Title: Giuffre v. Maxwell                           DC Court: SDNY (NEW YORK CITY)DC Docket #: 15−cv−7433
                                                          DC Court: SDNY (NEW YORK CITY)
                                                          DC Judge: Sweet




                                                     NOTICE TO THE BAR



Offsite Video Argument. At this time the Court does not provide offsite video argument.

Recording of Argument. An audio recording of oral argument is available on the Court's website. In addition, a CD of an
argument may be purchased for $31 per CD by written request to the Clerk. The request should include the case name, the
docket number and the date or oral argument. CDs will be delivered by first class mail unless the request instructs to hold for
pick−up or requests Federal Express Service, in which case a Federal Express account number and envelope must be provided.

Court Reporters. Parties may arrange − at their own expense − for an official court reporter to transcribe argument from a
copy of the hearing tape or to attend and transcribe the hearing directly. A party must first obtain written consent from
opposing counsel − or move the Court for permission − to have the court reporter attend and transcribe the hearing and must
provide the calendar clerk written notice, including the name, address and telephone number of the attending reporter and, if
applicable, the reporting firm at least one week prior to the hearing date.

Interpreter Services for the Hearing Impaired. Counsel requiring sign interpreters or other hearing aids must submit a
written notice to the Calendar Team at least one week before oral argument.

Inquiries regarding this case may be directed to .
